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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

BRYTON ENNIS,

       Plaintiff,

v.                                                         Case No: 8:21-cv-1572-KKM-SPF

HEALTHCARE REVENUE
RECOVERYGROUP, LLC,

      Defendants.
___________________________________


             FAST TRACK CASE MANAGEMENT AND SCHEDULING ORDER

        Under Federal Rule of Civil Procedure 16 and Local Rule 3.02(c) and (d)(1), the Court enters
 this special Fast Track Case Management and Scheduling Order, tailored to meet the particular
 circumstances of cases under the Fair Debt Collection Practices Act, Telephone Consumer Protection
 Act, state law consumer protection statutes, and other comparable statutes. The provisions of this
 order will be strictly enforced. Accordingly, it is ORDERED:

        1.   Parties are directed to meet the deadlines below:

                Certificate of Interested Parties and               July 20, 2021
                Notice of Related Cases
                Mediator Selection Deadline                          July 27, 2021
                Deadline for Initial Disclosures                    August 3, 2021
                Third Party Joinder / Amend Pleading                August 3, 2021
                Plaintiff Expert Disclosure                        August 25, 2021
                Defendant Expert Disclosure                      September 8, 2021
                Rebuttal Expert Disclosure                       September 22, 2021
                Discovery Cut-Off                                  October 6, 2021
                Mediation Deadline                                October 13, 2021
                Dispositive and Daubert Motions                   October 29, 2021
                Motions In Limine                                  January 13, 2022
                Joint Pretrial Statement                          January 27, 2022
                Pretrial Conference                               February 3, 2022
                Trial Briefs                                      February 28, 2022
                Trial Term                                           March 2022

        2.   Parties are further directed to meet the pretrial disclosure requirements and deadlines in
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      Fed. R. Civ. P. 26(a)(3) and to adhere timely to all requirements in Local Rule 3.06
      concerning Final Pretrial Procedures, as supplemented herein at ¶ 6. Parties are advised
      to review the amendments to the Rules of Civil Procedure regarding discovery,
      which became effective December 1, 2020.

 3.   This case is referred to court-annexed mediation in accordance with the rules governing
      mediation set forth in Chapter Four of the Local Rules. The parties shall select a Mediator,
      and counsel for Plaintiff is designated as Lead Counsel to coordinate the scheduling of
      mediation. The list of certified mediators is available on the internet at
      www.flmd.uscourts.gov under “For Lawyers/Mediation and Settlement.” The list is not
      exclusive, and any certified mediator is permissible. Lead counsel must file a Notice of
      Mediator Selection and Scheduling of Mediation which (a) identifies the selected
      Mediator and includes address, telephone, and facsimile information, and (b) sets the
      time, date, and place for the mediation conference by the above-designated date. If the
      parties fail to select a Mediator or do not notify the Court of such selection by the above-
      designated date, the Court will sua sponte and without further notice select an individual to
      serve as Mediator and issue the appointment. The mediation conference may be
      conducted any time on or before the above-designated date.

 4.   Last Date to Mediate: The parties shall complete the mediation conference on or before
      the mediation date set forth earlier in the above table. Neither the mediator nor the
      parties have authority to continue the mediation conference beyond this date except
      on express order of the Court. In any complex case or case involving multiple parties,
      the mediator has the authority to conduct the mediation in a series of sessions and in groups
      of parties so that mediation is complete by the last date to mediate.

 5.   Parties will please note that motions to amend any pleading or a motion for continuance
      of any pretrial conference, hearing or trial filed after issuance of this Case Management
      and Scheduling Order are disfavored. See Fed. R. Civ. P. 16(b)(4); Local Rule 3.08(a).

 6.   A Pretrial Conference will be held before the undersigned in Courtroom 13B, 801
      North Florida Avenue, Tampa, Florida, on February 3, 2022, at 9:00 a.m. Parties are
      directed to meet the pretrial disclosure requirements and deadlines in Fed. R. Civ. P.
      26(a)(3) and to adhere to all requirements in Local Rule 3.06 concerning final pretrial
      procedures. The parties shall file a joint Pretrial Statement one week before the above-
      referenced pretrial conference date. Failure to do so may result in the imposition of
      sanctions. The parties shall file any motions in limine three weeks before the Pretrial
      Conference date and any response to a motion in limine one week before the Pretrial
      Conference date. Counsel who will act as lead trial counsel in the case and who is vested
      with full authority to make and solicit disclosure and agreements touching all matters
      pertaining to the trial must attend the Pretrial Conference. Counsel who do not attend the
      Pretrial Conference will not be permitted to participate in trial.

 7.   This case is set for Trial during the term commencing March 7, 2022, before the
      undersigned. This MARCH trial term shall include the entire month.

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 8.   CONSENT TO TRIAL BY MAGISTRATE JUDGE: In accordance with 28 U.S.C.
      § 636(c) and Fed. R. Civ. P. 73, the parties may consent to have a United States Magistrate
      Judge conduct any or all further proceedings in this case, including the trial. Parties are
      advised that a magistrate judge can provide certainty and flexibility in scheduling,
      including a date certain for trial—unlike the district court calendar that assigns only a
      trial month and is subject to frequent changes due to the Court’s criminal calendar. Parties
      may consent to proceed before a magistrate by filing a completed Form AO 85 “Notice,
      Consent, and Reference of a Civil Action to a Magistrate Judge,” which is available on the
      Court’s website under “Filing a Case/Forms/Civil Forms.” Consent is voluntary, and a
      party for any reason can decide not to consent and continue before the district judge
      without adverse consequences. See Fed. R. Civ. P. 73(b)(2).

 9.   SUMMARY JUDGMENT PROCEDURES: The following procedures shall be
      followed by the parties:

        (a)     A party’s claims or defenses for which summary judgment is sought shall be
                presented in a single motion and incorporated memorandum of law which,
                absent prior permission of the Court, shall not exceed twenty-five (25) pages
                total. Multiple motions for summary judgment will not be permitted. A violation
                of any of these directives will result in the Court sua sponte striking a party’s
                motion for summary judgment and incorporated memorandum of law without
                notice. Any record citations should be to page and line of the filed materials.

        (b)     Prior to filing a motion for summary judgment, the moving party shall confer
                in good faith with the party or parties against whom summary judgment is
                sought for the purpose of narrowing the factual issues in dispute. A party by
                separate pleading filed contemporaneously with the motion for summary
                judgment and incorporated memorandum of law shall certify that such a
                conference has taken place and that the parties were or were not able to agree
                on a narrowing of the factual issues in dispute. The moving party shall file a
                separate “Statement of Undisputed Facts” (not exceeding 20 pages in length),
                with citations to the record, which shall accompany the motion for summary
                judgment.

        (c)     Any party opposing a summary judgment motion shall file a memorandum of
                law in opposition no later than the time allotted pursuant to Local Rule 3.01(c).
                To the extent that the party opposing a motion for summary judgment disputes
                any facts asserted in the motion, the opposing party must include those
                disputed facts, with citations to the record, in the memorandum responding to
                the motion for summary judgment. All material facts set forth by the moving
                party shall be deemed admitted unless controverted by the opposing party in
                the response to the motion for summary judgment.


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        (d)     Failure to respond to a motion for summary judgment shall be deemed that the
                non-moving party does not oppose the motion and may result in final judgment
                being entered without a trial or other proceeding.

        (e)     Oral argument or hearings will generally not be held on the motion.

        (f)     A violation of any of these directives will result in the Court sua sponte striking a
                party’s motion for summary judgment without notice.

 10. For jury trials, not later than fourteen (14) days prior to the date on which the trial term
     is set to commence, the parties shall file the following:

        (a)     Proposed Jury Instructions: The parties must confer about the jury
                instructions and submit to the Court: 1) all instructions that are undisputed; 2)
                instructions proposed by the plaintiff but not acceptable to the defense; and 3)
                instructions proposed by the defense but not acceptable to the plaintiff. A
                complete set of all written Proposed Jury Instructions shall bear a cover sheet
                with the complete style of the case and appropriate heading designating the
                submitting party; there shall be no more than one instruction per page and
                contain, at the end of each such instruction, citation of authorities; they shall be
                sequentially numbered and party-identified (e.g., Plaintiff’s Requested
                Instruction No. 1). Counsel must email proposed jury instructions and verdict
                forms in Microsoft Word (.doc or .docx) format to the chambers inbox. Include
                the case number and case name in the subject line;

        (b)     A concise (one paragraph preferably) joint statement of the nature of the action
                to be used in providing a basic explanation of the case to the jury venire;

        (c)     Proposed Verdict Form; and

        (d)     Proposed Questions for Voir Dire: The court conducts the initial voir dire
                examination and parties should submit all proposed questions by the above
                deadline. Counsel may submit additional follow-up questions after the court
                examines the jury venire, but counsel will ordinarily not be permitted to examine
                potential jurors.

 11. For jury trials, each party may file a Trial Brief not later than fourteen (14) days prior
     to the date on which the trial term is set to commence. The brief should include citations
     of authorities and arguments specifically addressing all disputed issues of law likely to arise
     at trial.

 12. For bench trials, not later than fourteen (14) days prior to the date on which the trial
     term is set to commence, each party shall file with the Clerk of Court a Trial Brief

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     containing Proposed Findings of Fact and Conclusions of Law along with citations
     of authorities and arguments specifically addressing all disputed issues of law likely to arise
     at trial. Each proposed finding of fact shall be separately stated in numbered paragraphs
     and shall contain a detailed listing of the relevant material facts the party intends to prove,
     in a simple, narrative form. Each proposed conclusion of law shall contain a full
     exposition of the legal theories relied upon by counsel. After the conclusion of a bench
     trial, the court may allow the parties to file additional proposed findings of fact and
     conclusions of law. The proposed findings of fact and conclusions of law must be emailed
     to the chambers inbox in Microsoft Word (.doc or .docx) format.

 13. No later than 9:00 a.m. on the business day before trial, the parties shall provide to the
     Court an exhibit notebook containing marked copies of all exhibits. The parties may
     contact the courtroom deputy clerk to determine whether this requirement may be
     waived.

 14. SETTLEMENTS: Lead counsel (as designated above, Plaintiff’s counsel) shall
     immediately notify Chambers or the Courtroom Deputy Clerk if their case has settled.
     See Local Rule 3.09. Notices of settlement must be in writing.


  ORDERED in Tampa, Florida, on July 12, 2021.




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